            Case 1:24-cv-00769-KES-SKO Document 9 Filed 06/28/24 Page 1 of 2


 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2 MICHELLE LO (NYRN 4325163)
   Chief, Civil Division
 3 ELIZABETH D. KURLAN (CABN 255869)
   Assistant United States Attorney
 4
          450 Golden Gate Avenue, Box 36055
 5        San Francisco, California 94102-3495
          Telephone: (415) 436-7298
 6        Facsimile: (415) 436-6748
          Elizabeth.Kurlan@usdoj.gov
 7
   Attorneys for Defendant
 8
                                    UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11
   ZENENG LIANG,
12                                               3:24-cv-02405 LJC
                            Plaintiff,
13                                               STIPULATION TO TRANSFER CASE TO THE
          v.                                     UNITED STATES DISTRICT COURT FOR THE
14                                               EASTERN DISTRICT OF CALIFORNIA;
   EMILIA BARDINI, Director of Asylum Office     [PROPOSED] ORDER AS MODIFIED
15 in San Francisco,

16                              Defendant.                Hon. Lisa J. Cisneros

17

18           Pursuant to 28 U.S.C. § 1404(a), Plaintiff, proceeding pro se, and Defendant, through her

19 attorneys, hereby stipulate and respectfully request the Court to transfer this case to the United States

20 District Court for the Eastern District of California. The Eastern District of California is a district where

21 this case might have been brought because Plaintiff resides in that district, and all parties consent to

22 transfer to that district.

23           Pursuant to Civil Local Rule 6-1(a), the parties further stipulate that Defendant’s time to respond

24 to the complaint is extended to sixty days after this case is docketed with the United States District Court

25 for the Eastern District of California.

26

27

28
     Stipulation to Transfer
     C 3:24-cv-02405 LJC                              1
            Case 1:24-cv-00769-KES-SKO Document 9 Filed 06/28/24 Page 2 of 2


 1 Dated: June 11, 2024                                   Respectfully submitted,1

 2                                                        ISMAIL J. RAMSEY
                                                          United States Attorney
 3

 4                                                        /s/ Elizabeth D. Kurlan
                                                          ELIZABETH D. KURLAN
 5                                                        Assistant United States Attorney
                                                          Attorneys for Defendants
 6

 7 Dated: June 4, 2024
                                                          /s/ Zeneng Liang
 8                                                        ZENENG LIANG
                                                          Pro Se
 9

10

11                                  [PROPOSED] ORDER AS MODIFIED

12        Pursuant to stipulation, and having considered the relevant and appropriate factors as contemplated

13 by 28 U.S.C. § 1404(a) and case law, the Court finds transfer to be in the interest of justice under the

14 circumstances of this case. IT IS SO ORDERED. This case hereby is transferred to the United States

15 District Court for the Eastern District of California. Defendant’s time to respond to the complaint is

16
     extended to sixty days after this case is docketed with the United States District Court for the Eastern
17
     District of California.
18

19 Date: June 28, 2024
                                                   _____ __________________________
20                                                       LISA J. CISNEROS
                                                         United States Magistrate Judge
21

22

23

24

25

26

27          1
            In compliance with Civil Local Rule 5-1(i)(3), the filer attests that all signatories have
28 concurred  in the filing of this document.
   Stipulation to Transfer
   C 3:24-cv-02405 LJC                            2
